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13                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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                                                   Master File No. 3:16-CV-03044-L-KSC
16   IN RE ILLUMINA, INC.
     SECURITIES LITIGATION                         CLASS ACTION
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18                                                 JOINT MOTION TO AMEND
                                                   SCHEDULING ORDER
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                                                   Judge: Hon. Karen S. Crawford
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                        JOINT MOTION TO AMEND SCHEDULING ORDER
                                                                          16-CV-3044-L-KSC
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1          Pursuant to the Honorable Karen S. Crawford’s Chamber Rule IV.C, Lead Plaintiff
2    Natissisa Enterprises Ltd. (“Plaintiff”), and Defendants Illumina, Inc. (“Illumina” or the
3    “Company”), Francis A. deSouza, and Marc A. Stapley (together, the “Defendants”)
4    (collectively, Plaintiff and Defendants are referred to as the “Parties”), jointly and
5    respectfully move this Court to amend the Scheduling Order Regulating Discovery And
6    Other Pre-Trial Proceedings that was entered on May 5, 2011 (the “Scheduling Order”).
7          The Scheduling Order currently states that all class discovery shall be completed by
8    the Parties no later than September 4, 2018. At the Case Management Conference, the
9    Parties proposed that the Court strike this deadline on class discovery, so that the Parties
10   can take depositions and discovery of experts after Plaintiff’s motion for class certification
11   has been filed. Specifically, the Parties’ intention is for Defendants to depose Plaintiff’s
12   class certification expert and conduct expert discovery between the filing of the class
13   certification motion and the filing of Defendants’ opposition. Likewise, Plaintiff intends
14   to depose Defendants’ class certification expert (if any) and conduct related expert
15   discovery (if any) between the filing of the opposition and the filing of Plaintiffs’ reply
16   brief. Any additional discovery on class certification issues, including document discovery
17   and a deposition of Plaintiff, would be conducted at a mutually convenient time prior to
18   the relevant party’s briefing deadline(s).
19         Good cause exists for this amendment. The Parties’ recollection is that the Court
20   had agreed to strike the September 4, 2018 deadline on class discovery during the Case
21   Management Conference.         Accordingly, the Parties believe that this deadline was
22   inadvertently included in the Scheduling Order. In addition, counsel for both Parties
23   respectfully submit that the proposed schedule will result in more efficient and less
24   burdensome class discovery, by permitting the parties to engage in discovery targeted at
25   each party’s class certification papers. No other deadlines in the Scheduling Order would
26   be affected by the proposed amendment.
27         The Parties have met and conferred prior to filing this joint motion and agree to the
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                          JOINT MOTION TO AMEND SCHEDULING ORDER
                                                                               16-CV-3044-L-KSC
     Case 3:16-cv-03044-L-KSC Document 56 Filed 05/16/18 PageID.1304 Page 3 of 5



1    relief sought herein.
2
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16    Dated: May 16, 2018              /s/ Mark Chen
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                             JOINT MOTION TO AMEND SCHEDULING ORDER
                                                                              16-CV-3044-L-KSC
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2                                SIGNATURE ATTESTATION
3          Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby certify
4    that authorization for the filing of this document has been obtained from each of the other
5    signatories shown above and that all signatories have authorized placement of their
6    electronic signature on this document.
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                                 By: /s/ Mark Y. Chen
                                     Mark Y. Chen
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                         JOINT MOTION TO AMEND SCHEDULING ORDER
                                                                             16-CV-3044-L-KSC
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1                                 CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true copy of the following document has
3    been served on May 16, 2018 to all counsel of record who are deemed to have consented
4    to electronic service via the Court's CM/ECF system per Civil Local Rule 5.4:
5
                    JOINT MOTION TO AMEND SCHEDULING ORDER
6
7          Any other counsel of record will be served by electronic mail, facsimile, and/or
8    overnight delivery.    Defendants will be served by electronic mail, facsimile, and/or
9    overnight mail.
10         I declare under penalty of perjury under the laws of United States that the foregoing
11   is true and correct and that this certificate of service was executed on May 16, 2018 at Los
12   Angeles, California.
13

14                                                 /s/ Mark Y. Chen
                                                   Mark Y. Chen
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                                     CERTIFICATE OF SERVICE
                                                                             16-CV-3044-L-KSC
